    _______________,2018,

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                                  UNJTED STA TES DISTRICT COURT
                                     DISTRICT OF NEW JERSEY

     UNITED STATES OF AMERICA                                  HON. SUSAN D. WIGENT0N

                      Plaintiff                                CivilAction No. 2:09-cv-1303

               V.


     MATTHEW HULL, MIcHELE C. HULL, AND
     AARON HULL,

                      Defendants.


              Upon Defendants’ failure to comply with this Court’s lawful Order dated November 30,
    2017, and upon the United States of America’s renewed motion for an Order directing
    Defendants to show cause why they should not be found in civil contempt of Court for failure to
    obey its lawful Order of November 30, 2017, and upon good cause being shown:


    IT IS on this        1’              dayo               /t(/       ,2018,
                                                /   /   /




         J    ORpERED that Defendants individual app ar before the Court on the                           of
                                    at    // : O                   and show cause why they should not be
    he   in civil contempt and punished therefore; and it is further
              ORDERED that any answer or response by Defendant beubmitted to this Court and
    served upon Plaintifino later than the ay of                                        ,   2018; and it is
    further
              ORDERED, that failure of Defendants to appear
    date may result in appropriate penalties or sanctions.




                                                                                                Judge



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